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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


   Civil Action No. 1:18-cv-1462-WJM-SKC

   JOHN DOE,

          Plaintiff,

   v.

   THE BOARD OF REGENTS FOR THE
   UNIVERSITY OF COLORADO, and,
   PHILIP DISTEFANO, Chancellor for the
   University of Colorado Boulder,

          Defendants.


                DEFENDANTS’ MOTION TO EXCLUDE EXPERT TESTIMONY


          Defendants Board of Regents for the University of Colorado and Philip DiStefano hereby

   move to exclude the expert testimony of Michael Freeman and Hanna Stotland. As grounds for

   this motion, Defendants state the following:

                                           INTRODUCTION

          Plaintiff has engaged experts Michael Freeman and Hanna Stotland.

          Freeman claims expertise in forensic medicine and forensic epidemiology. Freeman

   Report 1. Freeman states that his prior testimony has centered on the evaluation of test accuracy

   and the potential it creates for false positive and false negative results. Freeman Dep. 16:12-19.

   By contrast, Freeman’s testimony here focuses on whether the University’s Title IX investigative

   processes “place the accused individual at a greater risk of ‘false positive guilty’ than if [it] was

   conducted within the U.S. criminal justice system.” Freeman Report 5.
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          Stotland works as an educational consultant, specializing in students facing “challenging

   circumstances,” including school discipline. Stotland Report 1. Stotland’s testimony concludes

   that, as a result of Plaintiff’s expulsion for sexual assault and his GPA that she believes flowed

   from that expulsion, he will have difficulty transferring to another school and applying to jobs.

   Stotland Report 5-6. In addition to assessing his future prospects, Stotland generalizes that

   students in Plaintiff’s position may suffer “social struggle, sense of disconnection, and loss of

   confidence.” Stotland Report 6.

                                      STANDARD OF REVIEW

          Rule 702 of the Federal Rules of Evidence governs the admissibility of expert testimony.

   Rule 702 provides that:

      A witness who is qualified as an expert by knowledge, skill, experience, training, or
      education may testify in the form of an opinion or otherwise if: (a) the expert’s scientific,
      technical, or other specialized knowledge will help the trier of fact to understand the
      evidence or to determine a fact in issue; (b) the testimony is based on sufficient facts or data;
      (c) the testimony is the product of reliable principles and methods; and (d) the expert has
      reliably applied the principles and methods to the facts of the case.

          The Supreme Court has opined that FRE 702 makes the district court a “gatekeeper” to

   “ensure that any and all scientific testimony or evidence admitted is not only relevant, but

   reliable.” Daubert v. Merrell Dow. Pharm., 509 U.S. 579, 589 (1993). The proponent of an

   expert’s testimony bears the burden to demonstrate that the expert is qualified under FRE 702.

   U.S. v. Nacchio, 555 F.3d 1234, 1241 (10th Cir. 2009).

                                             ARGUMENT

      1. The testimony of Freeman should be excluded under FRE 702.
          a. Freeman does not possess specialized knowledge that will help the trier of fact
             understand the evidence.


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          To be qualified, an expert must possess “such skill, experience or knowledge in that

   particular field as to make it appear that his opinion would rest on substantial foundation and

   would tend to aid the trier of fact in his search for truth.” LifeWise Master Funding v. Telebank,

   374 F.3d 917, 928 (10th Cir. 2004) (internal quotations omitted). This is a threshold inquiry. If

   the court finds an expert unqualified, the court need not address the reliability of the conclusions.

   See Ralston v. Smith & Nephew Richards, Inc., 275 F.3d 965, 969 (10th Cir. 2001).

          Freeman’s academic training is in forensic medicine and forensic epidemiology. He

   possesses a medical degree, a Ph.D in public health/epidemiology, and an MPH in epidemiology

   and biostatistics. Freeman Report 1. None of these disciplines has any obvious connection to the

   facts put in issue by Plaintiff’s Second Amended Complaint, and Freeman’s summary of his

   testimony provides no further enlightenment on this point. Freeman states that he deals “with

   how probabilistic information is used to prove guilt or innocence in criminal matters,” and that

   his field has a “lot to do with test accuracy and how it’s used in a forensic setting.” Freeman

   Dep. 16:6-8, 16:12-14. Freeman’s specialized knowledge is germane to determining the risk of

   false positives when assessing forensic evidence that, for example, determines a victim’s position

   in a car crash. Freeman Dep. 17:3-24.

          He does not typically provide “opinions about the way a system is functioning.” Freeman

   Dep. 13:12-14. While he has testified in hundreds of cases, he does not recall previously

   testifying in a case involving university discipline (with one possible exception), Title IX, or a

   comparison between criminal due process and university discipline. Freeman Dep. 14-15.

   Indeed, he admitted that the idea of comparing criminal due process to the university disciplinary

   system was “very foreign to him.” Freeman Dep. 15:24. At bottom, Freeman has no professional

   experience in university discipline or Title IX to support any opinion he might hold on university

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   disciplinary investigations or disciplinary system operation, as the relative procedural guarantees

   in a criminal and administrative tribunal do not implicate questions of forensic medicine or

   epidemiology.

          b. Freeman’s testimony is not based on facts or data.

          “To be reliable, expert testimony must be based on actual knowledge, and not mere

   subjective belief or unsupported speculation.” Pioneer Ctrs. Holding Co. ESOP & Tr. v. Alerus

   Fin., N.A., 858 F.3d 1324, 1341-42 (10th Cir. 2017) (internal citations and quotations omitted).

   “When expert opinion is not supported by sufficient facts to validate it in the eye of the law … it

   cannot support a jury’s verdict and will be excluded.” Id. at 1342.

          Freeman offers no facts in support of his expert opinion. He recites his own

   understanding of the kind of guarantees that are available to a criminal defendant in a criminal

   case. See, e.g., Freeman Report 3. He provides no citations or legal authority to evidence that this

   is an exhaustive list, or to explain why differing procedural protections in disciplinary

   proceedings may affect the outcome. He conclusorily asserts that each of these items leads to an

   “increased risk” of “false positive,” id. at 6, but without providing any numerical estimate of how

   these procedural matters impacted the case. He explains that his analysis is either “qualitative” or

   “semi-quantitative,” Freeman Dep. 79:17-19, and states that he did not consider any numerical

   data in reaching his conclusion. Freeman Dep. 81:18. For some of what he characterizes as

   procedural deficiencies in university process, he is unable to point to specific facts about the

   impact of these claimed deficiencies. For example, he was not able to state in his deposition what

   he believed was redacted from the witness statements before Plaintiff reviewed them, nor is he

   able to point to anything in OIEC procedures to support his assertion that respondents do not

   receive a presumption of innocence. Freeman Dep. 70:20-21; 37:3-10.

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          Freeman’s bare assertion about the risk of false positives, and his vague conclusions

   regarding some aspects of the investigation, stand in marked contrast to how he testifies in cases

   where he offers expert testimony on test accuracy and forensic evidence. He states that in those

   cases he does assign a number value to the risk of a false positive. Freeman Dep. 21:15.

   Freeman’s characterization of increased risk, offered with no data-based grounding in his own

   discipline, amounts to “unsupported assertion[],” Pioneer Ctrs. Holding Co., 858 F.3d at 1342,

   and is based only on his own belief that that the university should not discipline conduct that

   could also be the subject of a police investigation. Freeman’s bare assertions simply do not

   satisfy the FRE 702(b) standard that expert testimony be based on facts or data.

          Freeman’s testimony also includes misstatements of fact and law. While Freeman

   purports to be an expert on the intersection of medicine and law, the only direct legal citation in

   his statement is to a Colorado statute regarding sexual assault, which again, is not at issue in this

   case. Freeman Report 2. Freeman frequently uses the terminology of criminal law, for example,

   using the word “guilty” repeatedly even though the university’s Title IX adjudicative process

   does not result in criminal penalties and flows from its obligations under civil rights law. See,

   e.g., Freeman Dep.11:1-3. Despite his incorrect belief that the university’s investigation was

   criminal in nature, he misstates at least one black-letter element of criminal law, suggesting that

   the “clear and convincing” evidentiary standard might be applicable in the criminal context.

   Freeman Report 1.

          Freeman also incorrectly asserts that there are no comparable university administrative

   processes for non-sexual crimes, such as murder, or other circumstances in which an individual

   could be held criminally responsible for an act otherwise punishable by prison. Freeman Report

   4. After so asserting in his Report, Freeman conceded in his deposition that the university

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   disciplinary process could be applied to at least some physical assault (without a clear

   demarcation of which) and that the same conduct could result in both criminal prosecution and

   tort lawsuits. Freeman Dep. 50:3-8. In fact, Plaintiff’s own Complaint cites current and formal

   federal guidance on university sexual assault investigations, impliedly conceding the

   University’s authority to discipline students for conduct which may also be criminal. See, e.g.,

   Second Amended Complaint, ¶¶ 142-43.

          Finally, while speaking at length regarding the requirements of due process, Freeman

   seems unaware of the legal framework for assessing due process in university discipline, which

   balances the right at interest with the potential deprivation. Compare Bd. of Curators of Univ. of

   Mo. v. Horowitz, 435 U.S. 78, 86 n.3 (1977) (opining that, in evaluating what process is due in

   different kinds of university discipline, the court must weigh the right at interest and the severity

   of the deprivation against a number of other factors); with Freeman Dep. 28:13-15 (asserting that

   due process is not required in university settings for non-criminal matters).

          Freeman’s misstatements of facts and law reflect the inadequacy of Freeman’s

   purportedly specialized knowledge to shed light on any issue in the case. He appears to be

   unfamiliar with the basic framework of university discipline and related case law. Instead,

   Freeman’s testimony stands only for the common-sense proposition that criminal trials are more

   procedurally elaborate than non-criminal disciplinary proceedings.

          c. Freeman’s testimony is not the product of reliable principles and methods.

          Freeman does not apply any clear principle or method to reach his conclusion regarding

   the risk of what he calls a “false positive guilty” in a university Title IX administrative

   proceeding. He states that he did not assign a probability to a false positive in this case as he does


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   when “applying a test to evidence” in the criminal arena. Freeman Dep. 21:11-25, 22:1-3. Much

   of Freeman’s opinion simply states facts that are self-evident, namely that criminal proceedings

   with criminal penalties involve different procedural safeguards than other procedures in the

   American legal system. Freeman Report 4-6.

          Freeman asserts that various procedural differences between criminal and Title IX

   investigations may change the risk of error. Freeman Report 5-6. However, he does not apply

   any particular method grounded in his training to determine their qualitative importance to an

   administrative proceeding, where the standard of proof is lower and the potential sanctions

   completely distinct from those at issue in a criminal system (i.e., suspension or expulsion as

   opposed to imprisonment). He does not attempt to quantify using any accepted method the

   contribution of particular procedures to different risks of incorrect outcomes. Instead he makes a

   bare assertion that procedural differences between the two systems “undoubtedly increase[] the

   risk” of a “false positive guilty,” Freeman Report 6, without explaining how he reached this

   conclusion or acknowledging that criminal guilt is not at stake in the university context. He cites

   no evidence and no empirical research in support of his conclusion. Freeman Report 4-6.

          d. Freeman’s testimony is testimony about legal matters.

          Freeman’s failures to satisfy the different elements of FRE 702 all stem from the same

   underlying cause: fundamentally, he seeks to testify about questions of law rather than factual

   issues within his forensic science expertise. While an expert witness may testify on an ultimate

   factual issue, the testimony must actually bear on a factual issue rather than the expert’s view of

   the legal merits. “Generally, an expert may not state his or her opinion as to legal standards nor

   may he or she state legal conclusions drawn by applying the law to the facts.” Oakland Oil Co. v.

   Conoco, Inc., 144 F.3d 1308,1328 (10th Cir. 1998). “[T]estimony which articulates and applies

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   the relevant law … circumvents the jury’s decision-making function by telling it how to decide

   the case.” Specht v. Jensen, 853 F.2d 805, 808 (10th Cir. 1988). “[W]hen the purpose of

   testimony is to direct the jury's understanding of the legal standards upon which their verdict

   must be based, the testimony cannot be allowed.” Id. at 809-10.

          Freeman, with his vast expertise in forensic science, seeks to opine on ultimate legal

   questions regarding the appropriate level of due process, the proper venue to adjudicate the

   misconduct charges, and the proper scope of university discipline, each of which are the subject

   of an entire body of case law and regulatory rulemaking. These are matters for the Court to

   decide. Courts evaluating these legal issues have built into the very test for due process in

   student discipline the necessity to weigh the risk of an incorrect result. See, e.g., Goss v. Lopez,

   419 U.S. 565, 579-80 (1975) (explaining how the minimum guarantees of notice and an

   opportunity to respond lower the risk of error). Not only is the question of procedural due

   process entirely unrelated to Freeman’s professional training, it is also not a proper subject for

   any expert. Freeman’s opinions are at their core not about disputed facts, but instead about how

   the legal issues in this case should be resolved.

      2. The testimony of Hanna Stotland should be excluded under FRE 702

          Stotland intends to opine that: (1) Plaintiff’s “Title IX record is a major negative factor

   for admission at competitive schools” and it could impede his ability to apply for jobs; and (2)

   Plaintiff “has suffered less tangible, but typical, losses as well.” Stotland Report 4, 6. Both

   opinions should be excluded.

      a. Stotland’s opinion on the burden on future education and job prospects is not relevant.




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          To be relevant, expert testimony must “logically advance[] a material aspect of the case.”

   United States v. Garcia, 635 F.3d 472, 476 (10th Cir. 2011). Presumably, Plaintiff intends to

   offer this testimony as to damages (even though he asks the Court to clear his educational

   record). Stotland’s thoughts on whether it may be harder for Plaintiff to transfer, what sorts of

   schools he may get into, and that he may have to apply for more and less desirable jobs, Stotland

   Report 4-6, don’t shed light on damages. Plaintiff himself can testify as to his experience

   applying to other schools and his decision not to apply for jobs. And Plaintiff’s economist has

   projected damages by comparing a degree-based career path to a career path without a degree.

   Stotland’s opinion that Plaintiff “will have to spend substantially more time and effort on future

   applications to have a fair chance at joining his similarly situated peers” is simply beside the

   point when it comes to damages. Stotland Report 6.

          Even if Stotland’s testimony could somehow shed light on damages, it is too uncertain to

   be helpful. Stotland acknowledges that “even with the best support, the outcome [of future

   applications] is uncertain.” Stotland Report 6. She similarly acknowledges that even without

   discipline, Plaintiff’s earlier 2.8 GPA would not be a “guarantee” that he could transfer to a

   particular school. In other words, Stotland “can’t tell [her clients] where, at what price, or when”

   they might “find another path that might eventually get them to their career goals.” Stotland Dep.

   28:13-22. Amounting to speculation, this testimony must be excluded. Squires v. Goodwin, 829

   F. Supp. 2d 1041, 1051 (D. Colo. 2011) (“Under Rule 702, admissible expert testimony must be

   based on actual knowledge and not subjective belief or unsupported speculation”) (internal

   quotation marks omitted).

      b. Stotland does not possess expertise to opine on issues other than college admissions.




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          Further, Stotland should be precluded from offering an opinion on Plaintiff’s mental or

   emotional state. She states that other clients report “shattered” self-confidence and struggle to

   perform academically. Stotland Report 6. Stotland also asserts, repeating information in an email

   from Plaintiff, that Plaintiff’s F grades in his final semester were a result of the investigation, an

   assertion that is not within her expertise to evaluate. Stotland Dep. 49:18-25; 50:1-11.

          Stotland’s expertise is in college admission and transfer counseling. Stotland Report 1-2.

   She does not assert expertise in mental or behavioral health. In determining whether expert

   testimony is admissible, the Court “generally must first determine whether the expert is qualified

   by ‘knowledge, skill, experience, training, or education’ to offer an opinion.” Nacchio, 555 F.3d

   at 1241. Because Stotland is not qualified to speak to the mental, emotional, or social adjustment

   consequences of transfer after discipline, she should not be permitted to testify on these issues.

          WHEREFORE, Defendants respectfully respect that the Court exclude the expert

   testimony of Michael Freeman and Hanna Stotland.

          DATED: September 12, 2019.

                                                          Respectfully submitted:

                                                          s/ Erica Weston
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on September 12, 2019, I electronically filed the foregoing with the

   Court’s electronic filing system (CM/ECF), which will automatically cause notification to be sent

   to the following counsel of record:

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